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FORM TO BE USED BY A PRISONER IN FILING A COMPLAINT
UNDER THE CIVIL RIGHTS ACT, 42 U.S.C. $ 1983, WITH

 

 

JURISDICTION UNDER 28 U.S.C. $1343 ~2? P2250
UNITED STATES DISTRICT COURT
DISTRICT OF MAINE

Brian R. Holmes )
Plaintiff, )

) Docket No.
V. )
)
Dale P. Lancaster, Sheriff )
Michael O. Mitchell, Chief Deputy __ )
Cory C. Swope, Jail Administrator __)
Sean P. MaGuire, )
Assistant Jail Administrator )
Teisha Cates, Compliance Monitor _ )
Defendant(s) )

I. Previous Lawsuits

A. Have you begun other lawsuits in the state or federal court dealing with the
same facts involved in this action or otherwise relating to your
imprisonment?

NO
II. Place of present confinement: Somerset County Jail

A. Is there a prisoner grievance procedure in this institution?
YES

B. Did you present the facts relating to your complaint in the state prisoner

grievance procedure?
YES
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C.

If your answer was “yes”

1.

The steps that I took are as follows:

In regards to Contact Visits;

October 23, 2019 I filed a level one grievance. Upon receiving the
level one grievance back on October 26, 2019. On October 26,
2019 I filed the Level 2 grievance. On November 4, 2019 Level 2
response came back. Grievance has been filed with Department of
Corrections and currently await the answer. Policy here at
Somerset Set County Jail says that all answers that come from the
Jail Administrator are final. (Inmate Grievances, 2017)

In regards to Phone Costs;

October 17, 2019 I filed a level one grievance. On October 18,
2019 level one grievance response came back, I then filed level 2
on October 18, 2019. Grievance has been filed with Department
of Corrections and currently await the answer. Policy here at
Somerset County Jail states that all answers that come from the
Jail Administrator are final. (Inmate Grievances, 2017)

What was the result?

In regards to Contact Visits;

Level | response “Somerset County Jail approves visits on a case
basis for physical contact. This is not a mandatory standard”,
Level 2 response “SCJ has a valid waiver for the standard J.15
from Maine DOC”

In regards to Phone Costs;

Level 1 response “SCJ is in compliance with FCC regulations.
This has been sent to Major Swope for discussion”.

Level 2 response “Video Visits are cheaper option for your outside
friends and family. Refer to hand book.
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Til.

Parties

A.

Brian R. Holmes, Plaintiff
Somerset County Jail

131 East Madison Road
Madison, Maine 04950

Dale P. Lancaster, Defendant
Sheriff

Somerset County Jail

131 East Madison Road
Madison, Maine 04950

Michael O. Mitchell, Defendant
Chief Deputy

131 East Madison Road
Madison, Maine 04950

Cory C. Swope, Defendant
Jail administrator

131 East Madison Road
Madison, Maine 04950

Sean P. Maguire, Defendant
Assistant Jail Administrator
131 East Madison Road
Madison, Maine 04950

Teisha Cates, Defendant
Compliance Monitor
131 East Madison Road
Madison, Maine 04950

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IV.

Statement of Claim.

[State here as briefly as possible the facts of your case. Describe how each
defendant is involved. Include also the names of other persons involved, dates
and places. Do not give any legal arguments or cite any cases or statues. If
you intend to allege a number of related claims, number and set forth each
claims, number and set forth each claim in a separate paragraph. Use as much
space as you need. Attach extra sheet if necessary.]

The facts supporting my argument on contact visits are as follows;

On about July 22, 2019 I was brought here to Somerset County Jail. I am
currently being held on Federal charges. It is my understanding that being
a pre-sentence inmate I retain more rights than those who have been
convicted. I wrote a request to Assistant Jail Administrator Sean P.
MaGuire asking if I could have a contact visit with my 18 month old son
and my sons’ mother. Assistant Jail Administrator Maguire stated on a
prisoner request form that “SCJ only will allow this after you have been
sentenced, re-apply later”. On October 23, 2019 I filed a grievance in
regards to denying my contact visits, stating Municipality and County Jail
Standard J.15, “Jnmate visits with family and friends should be conducted
under staff supervision. In the absence of a substantiated security risk, and
consistent with the inmate's classification, visits should include the
opportunity for physical contact. At a minimum, one hour of contact
visiting every other weekend should be provided by the facility for
minimum and medium security inmates” (Section Ila County Jails, J.15,
2019),

On October 26, 2019 Compliance Monitor Teisha Cates responded to the
level 1 grievance, Miss Cates told me to put into the Jail Administrator as
Somerset County Jail will do contact visits, but only on a case by case
basis. October 26, 2019 I filed the Level 2 grievance, November 4, 2019
Assistant Jail Administrator Sean P. MaGuire responded “SCJ currently
has a waiver from DOC for this standard”. Assistant Jail Administrator
Sean P. Maguire did not provide a copy of such waiver. Nor did MaGuire
provide any documentation as to substantiated security risk. To date Jail
Administrator Cory C. Swope has not answered none of the three inmate
requests I have filed.
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In addition to standard J.15, standard J.11 states “Facilities should make
provisions for contact visits for inmates allowed such visits.” (Section Ia
County Jails J.11, 2019)

2. The facts supporting my argument for Inmate Phone Costs are all follows:

On or about July 22, 2019, I was brought here to Somerset County Jail.
Currently I’m being held on federal charges. It is my understanding that
due to the fact that I’m a pre-sentence detainee I retain more rights than
those Inmates who have been convicted. On three different occasions I
wrote inmate request forms to Jail Administrator Cory C. Swope, in
reference to the current pricing for inmate phone calls. I stated that I have
to pay $5.51 for (1) fifteen minute call. I also stated to Jail Administrator
Cory C. Swope that this price has caused not only me but my family
significant hardship. I explained that I’m not from the area and my family
is all from at least three to four hours away. To date Jail Administrator
Cory C. Swope has never responded to any of the Inmate request forms
that I have put into him.

On October 17, 2019 I filed a Level 1 grievance after numerous attempts
to speak with administration in regards to the current phone pricing.
October 18, 2019 the response from Teisha Cates, to the Level 1 grievance
came back, stating “SCJ complies with all FCC regulations.” On October
18, 2019 I filed the Level 2 grievance. On November 4, 2019 Assistant
Jail Administrator Sean P. Maguire responded “You can do video visits
they are cheaper.”

Multiple attempts have been made to obtain a copy of the current contract
Somerset County Jail has with the current Inmate Phone System Provider
ITI. Teisha Cates, has stated three times that Jail Administrator Cory C.
Swope is going to provide a copy of the current contract. Under Maine
statue neither the sheriff or jail administrator has the authority to collect
money off the phones, even if it is done through “site commissions”. Due
to inability to obtain the current contract I have no way to see how much
site commission is being made by the Somerset County Jail. Somerset
County Jail prices grossly exceed the national average and the state wide
average. Furthermore, how can Somerset County Jail officials’ belief that
charging such high rates are not a violation of the Maine Consumer Fraud
Act.
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Relief

[State briefly exactly what you want the court to do for you. Make no legal
arguments. Cite no cases or statutes. |

In matter number 1, I would like for the court to review current practices of
Somerset County Jail and provide a means for me to have contract visits. I
only ask for what standard J.15 and J.11 state, no more. I ask for Punitive
damages of $5,000 dollars.

In matter number 2, I would like for Somerset County Jail to lower the current
phone rates, to what the national standard currently is or even the state wide
average. I ask for punitive damages of $5,000 dollars.

I also ask that Somerset County Jail pay all court cost, to include;
1) Postage
2) Photocopies
3) Filing Fees
4) Any other cost incurred.

Signature of Plaintiff

Signed this Ay day of \penmler , 2019

I declare under penalty of perjury that the foregoing is true and correct.

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Signature of Plaintiff
